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                      UNITED STATES DISTRICT COURT
            FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.2.2
                                 Eastern Division

Kathleen Taylor
                                      Plaintiff,
v.                                                       Case No.: 1:17−cv−06374
                                                         Honorable Gary Feinerman
State Collection Service, Inc.
                                      Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Wednesday, August 8, 2018:


        MINUTE entry before the Honorable Gary Feinerman:Status hearing held and
continued to 9/18/2018 at 9:00 a.m. Plaintiff reported that she will not move for class
certification. Defendant reported that it will move for summary judgment.Mailed
notice.(jlj, )




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
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